   Case 4:19-mj-01445 Document 1 Filed on 08/05/19 in TXSD Page 1 of 3

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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF INDIANA                   ~F P ? .1           [)l.J   i··.
                          FORT WAYNE DIVISION                  15 .,,.,     Lv
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UNITED STATES OF AMERICA             )
                                             IND! CTMEN,p;'I   FORi.rt,;;:~t,.:.·                    c'   c•~
                                     )
           v.                        )       Cause No. 1:15-CR-    fJI
                                     )       Violation: 21 U.S.C. § 846
JUAN ALBERTO MENDEZ                  )


THE GRAND JURY CHARGES:
                                                      H19-1445M
     On or about September 17, 2014, and continuing to on or about March

1, 2015, in the Northern District of Indiana and elsewhere,

                         JUAN ALBERTO MENDEZ,

defendant herein, did knowingly and intentionally conspire, combine,

confederate, and agree with other persons known and unknown to the Grand

Jury to commit an offense against the United States, that is, to violate 21

U.S.C. § 841(a)(l), to distribute and possess with the intent to distribute a

controlled substance, including 1 kilogram or more of a mixture and

substance containing a detectable amount of heroin, a Schedule I Controlled

Substance; 5 kilograms or more of a mixture and substance containing a

detectable amount of cocaine, a Schedule If Controlled Substance; and 100

kilograms or more of a mixture and substance containing a detectable

amount of marijuana, a Schedule I Controlled Substance;

     All in violation of 21 U.S.C . § 846.
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    USDC IN/ND case 1:15-cr-00051-HAB-SLC document 1 filed 09/23/15 page 2 of 2



                                FORFEITURE ALLEGATION

            The allegation contained in the count of this Indictment is hereby

    realleged and incorporated by reference for the purpose of alleging forfeiture

    pursuant to 21 U.S.C. § 853.

            Upon conviction of the controlled substance offense alleged in the sole

    count of this Indictment, the defendant shall forfeit to the United States

    pursuant to 21 U.S.C. § 853, any property constituting, or derived from,

    proceeds obtained, directly or indirectly, as a result of such violation(s), and

    any property used, or intended to be used, in any manner or part, to commit,

    or to facilitate the commission of such violation(s).

                                                A TRUE BILL


                                                 Isl Foreperson
                                                Foreperson



            DAVID CAPP
            UNITED STATES ATTORNEY

    By:      Isl Anthony W Geller
            Anthony W. Geller
            Assistant United States Attorney
            E. Ross Adair Federal Bldg. & U.S. Courthouse
            1300 S. Harrison Street, Room 3128
            Fort Wayne, IN 46802
            Telephone: (260) 422-2595
            Facsimile: (260) 426-1616
            E-mail Address: anthony.geller@usdoj.gov

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                                                      UNITED STATES DISTRICT COURT
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                                                                             Northern District of lndfano

                          United States or America
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                                             "·                                            )         Case No.             I: IS-CR-5 l-TLS
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                       JUAN ALBER.TO MENDEZ                                                )
                                      l'lrfelldrnll    . - ..   .. . -


                                                                             ARREST WARRANT
  To:         /\ny authorb:cd IAw Cl"\foteemontofrsccr

              YOU ARE COMMANDED to orrcst and bring before a United Stites mapstf':ll<:judJ:tc \\ithout unneccsmy delay
  (,i111114•"/prnm,11thnuw~,tli!J               JUAN ALB~T9 .~~~~ . .. . ·· ·-
  who is accused of Ail offense or \'ioJutlon based on the following. doc:uincnt lilcd with lhc c:oun:

  X Indictment                     O Supcrsedini lndiccment                       O information · CJ Supc:r.icding lnfonnntion                              i'J Complaint
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  This OtrCll$C is briefly dc$Cribcd ~ f~llows:
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 · :?t:846 Conspir.1~ to Diiitributc and P ~ with Intent to Distribute Sdlcdule 1Controlled S11b~1nncc. Heroin. Sch~-dulc II
   Conrrolled Subslanct, Ce><:11!nc. and Schedule I Controlled Substance, Marijuana. and Forfeiture




  Olltc: September 23. 20 IS


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